           Case 6:23-cv-06728-FPG Document 15 Filed 02/20/24 Page 1 of 4




UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK
-------------------------------------------------------X
SPARTAN BUSINESS SOLUTIONS LLC
D/B/A SPARTAN CAPITAL,
                                             Plaintiff,
                                                                         23 Civ. 06728 (FPG)
        -- against –

MARQUIS CATTLE COMPANY INC.
D/B/A MARQUIS CATTLE COMPANY;
MONTANA MOUNTAIN BISON, INC.;
MCC TRUCKING LLC;
M HANGING 6 RANCH LLC D/B/A PUMP’T;
MARQUIS CATTLE INC.; and
CORY SHANNON MARQUIS,

                                             Defendants.
-------------------------------------------------------X




                   DEFENDANTS’ REPLY MEMORANDUM OF LAW
                   IN SUPPORT OF DEFENDANTS’ CROSS-MOTION
                   TO GIVE RELIEF FROM A REMAND ORDER OR,
            IN THE ALTERNATIVE, LIMITED DISCOVERY AND A HEARING




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                                         Attorney for Defendants
         Case 6:23-cv-06728-FPG Document 15 Filed 02/20/24 Page 2 of 4




       Defendants respectfully submit this reply memorandum of law in support of their cross-

motion for an Order giving them relief “from a final judgment, order, or proceeding” due to the

“misrepresentation, or misconduct by an opposing party” under Rule 60(b)(3) of the Federal Rules

of Civil Procedure (“Federal Rules”) or, if the Court deems it necessary to issuing such an Order,

limited discovery and an in camera hearing.1 See ECF No. 11-1.

       The fact is that Spartan’s counsel made a material misrepresentation to the Court. Counsel

stated: “If the Court finds that to be the case and remands the action to state court, Plaintiff will

file its motion to compel arbitration in state court. It obviously cannot file that motion in state

court, however, until remand occurs.” ECF No. 1, ¶13 (quoting Plaintiff’s Reply Brief in 23 Civ.

06258) (emphasis added). However, when the court remanded the action to state court, Plaintiff

did not file a motion to compel arbitration in state court but demanded that Defendants file their

answer so that Plaintiff could file a motion for summary judgment in state court.

       Spartan’s counsel responds, “there was no misrepresentation; Plaintiff merely stated that it

intended to move to compel arbitration if the case were remanded.” Pl. Mem. at 7 (citing Wells

Decl. ¶ 11) (emphasis added). Defendant responded that Plaintiff’s entire argument is beside the

point because courts have repeatedly held that “misrepresentation” or “misconduct” in Rule

60(b)(3) encompasses more than false statements made with intent to deceive. See Catskill Dev.,

L.L.C. v. Park Place Entm’t Corp., 286 F. Supp. 2d 309, 314 (S.D.N.Y. 2003); see also United

States v. One Douglas A-26B Aircraft, 662 F.2d 1372, 1374-75 n.6 (11th Cir. 1981). An Order

issued under Rule 60(b)(3) can cover even accidental misrepresentations.




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 Defendants include Marquis Cattle Company Inc., Montana Mountain Bison, Inc., MCC
Trucking LLC, M Hanging 6 Ranch LLC d/b/a Pump’t, Marquis Cattle Inc., and Cory Shannon
Marquis (together, “Defendants”).

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         Case 6:23-cv-06728-FPG Document 15 Filed 02/20/24 Page 3 of 4




       Spartan’s counsel elects to not even address this argument or the scope of the Court’s power

under Rule 60(b)(3). Spartan’s entire response in its opposition to motion for an Order under Rule

60(b)(3) is as follows:

               Defendants offer no new meaningful argument or authority in support of
               their Rule 60(b) argument. (See Doc. No. 12, Defs.’ Memo. at pp. 16-17).
               They simply reiterate their argument that Plaintiff misrepresented its intent
               to arbitrate, which Plaintiff already addressed. (See Doc. No. 8, Pl.’s Memo.
               at pp. 6-8).3 Respectfully, Defendants’ Rule 60(b) argument fails.

ECF No. 14, at 6-7. That is all that Spartan’s Counsel can muster.

      Spartan’s counsel completely ignores Plaintiff’s argument that counsel’s intent in stating

“Plaintiff will file its motion to compel arbitration in state court” is not relevant under Rule

60(b)(3) when a party seeks an Order on the grounds of misrepresentation or misconduct. “It is

well settled in this Circuit that a plaintiff effectively concedes a defendant’s arguments by his

failure to respond to them.” Lopez Canas v. Whitaker, No. 19 Civ. 6031, 2019 WL 2287789, at *5

(W.D.N.Y. May 29, 2019); see also Miles v. Walawender, No. 10 Civ. 973, 2013 WL 1908304, at

*1 (W.D.N.Y. May 7, 2013) (“Plaintiff’s opposing Memorandum of Law does not respond to this

argument, and effectively concedes these arguments by his failure to respond to them.”) (alteration,

citation, and quotation marks omitted) (citation and quotation marks omitted); Rosenblatt v. City

of New York, No. 05 Civ. 5521, 2007 WL 2197835, at *7 (S.D.N.Y. July 31, 2007) (“Plaintiff

effectively concedes defendants’ other arguments . . . by her failure to respond to them.”).

      By utterly failing to respond to Defendants’ arguments, Plaintiff also concedes that if this

Court were to hold the intent of Spartan’s Counsel does determine the outcome of Defendants’

motion to be given relief from the prior order, the Court should issue an order permitting limited

discovery and conduct an in camera hearing on the decision not to arbitrate along with

disqualifying Plaintiff’s Counsel as a witness to the hearing. “It cannot be too often noted that in

any context merely saying so does not make it so. It never has.” Putnam v. CarmelCrisp LLC, 20


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          Case 6:23-cv-06728-FPG Document 15 Filed 02/20/24 Page 4 of 4




Civ. 02074, Dkt. 107 at 7 n.3 (N.D. Ill. Jan. 18, 2024) (numerous citations omitted); see also Digital

Realty Trust, Inc. v. Somers, 138 S. Ct. 767, 779 (2018).

      For these reasons, and those stated in its memorandum of law in support of this cross-motion

(ECF No. 11-1), if the Court does not hold that Plaintiff’s motion to remand is barred by 28 U.S.C.

§ 1447(c), Defendants respectfully request that they be given relief from the prior order and the

Court determine whether Plaintiff has waived the right to arbitration.


Dated: Rochester, NY
February 20, 2024

                                                                                /s/ Brian Goodwin
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